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4                         IN THE UNITED STATES DISTRICT COURT
5                       FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7    UNITED STATES OF AMERICA,                    Case No.: 1:16-CR-00113-001 LJO
8                       Plaintiff,                ORDER OF RELEASE
9         v.
10   ISIS ALI MALDONADO-SALINAS,
11                      Defendant.
12

13         The above named defendant having been sentenced on January 30, 2017, to Time Served,
14
           IT IS HEREBY ORDERED that the defendant shall be released forthwith.
15
           A certified Judgment and Commitment order to follow.
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     IT IS SO ORDERED.
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19      Dated:   January 30, 2017                     /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
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